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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
WARREN SETHACHUTKUL,                                         :
                                                             :   Civil Action No. 18-cv-3101 (KAM)(JO)
                                    Plaintiff,               :
                                                             :
                 v.                                          :   AMENDED COMPLAINT
                                                             :
JUMPSHOT, INC.                                               :
                                                             :   Jury Trial Demanded
                                    Defendant.               :
------------------------------------------------------------ X

        Plaintiff Warren Sethachutkul (“Mr. Sethachutkul” or “Plaintiff”), by and through his

undersigned counsel, Wigdor LLP, brings this action against Defendant Jumpshot, Inc.

(“Jumpshot,” the “Company,” or “Defendant”), and alleges:

                                       NATURE OF THE CLAIMS

        1.       Throughout the summer of 2017, Plaintiff Warren Sethachutkul, a former

salesman for Jumpshot, secured over $8,200,000 in deals for the Company. As a result, Mr.

Sethachutkul is entitled to more than $800,000 in commissions from the Company. Yet, after

paying Mr. Sethachutkul only $1,500 in commissions, Jumpshot fired him and now asserts that it

owes Mr. Sethachutkul nothing. Jumpshot’s conduct violated, and continues to violate, the

Company’s contracts with Mr. Sethachutkul and New York Labor Law §§ 191, 193. See, e.g.,

Kolchins v. Evolution Markets, Inc., No. 31, 2018 WL 1524710, at *4-5 (N.Y. Mar. 29, 2018);

Ryan v. Kellogg Partners Inst. Servs., 19 N.Y.3d 1 (2012).

        2.       This action seeks declaratory, injunctive and equitable relief, as well as monetary

damages, to redress Defendant’s breach of contract, breach of the implied covenant of good faith

and fair dealing and violations of the New York Labor Law (“NYLL”), as well as for promissory

estoppel and unjust enrichment.
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                                  JURISDICTION AND VENUE

        3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(1) as

this action is based on the diversity of residence between the named parties and involves an

amount in controversy exceeding $75,000.

        4.      Pursuant to 28 U.S.C. § 1391, venue is proper in this district because a substantial

part of the events or omissions giving rise to this action, including the unlawful employment

practices alleged herein, occurred in this district.

        5.      At all relevant times, Defendant continuously and systematically conducted

business in Brooklyn, New York. Further, events giving rise to this action took place at

Defendant’s office located at 45 Main Street, Suite 504, Brooklyn, New York 11201.

                                              PARTIES

        6.      Plaintiff Warren Sethachutkul is a resident of the State of New York. At all

relevant times, Mr. Sethachutkul was an “employee” and/or “eligible employee” as defined in all

applicable statutes.

        7.      Defendant Jumpshot, Inc. is a Delaware foreign business corporation that analyses

and sells user data to companies to inform their marketing strategies. At all relevant times,

Jumpshot was an “employer” as defined in all applicable statues. Jumpshot’s global

headquarters is located at 333 Bryant Street, Suite 204, San Francisco, California 94107.

                                   FACTUAL ALLEGATIONS

I.      MR. SETHACHUTKUL’S COMMISSION PLAN

        8.      On or around January 9, 2017, Deren Baker, Jumpshot’s CEO, provided Mr.

Sethachutkul with a proposed employment agreement which contained an offer for a full-time

position as a Sales Director at Jumpshot.




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        9.     On January 11, 2017, Mr. Sethachutkul accepted Jumpshot’s offer by executing

the proposed employment agreement (the “Employment Agreement”).

        10.    Pursuant to the Employment Agreement, Mr. Sethachutkul is eligible to receive

commission payments from Jumpshot based on his sales performance.

        11.    Additionally, the Employment Agreement states that Jumpshot and Mr.

Sethachutkul would agree on the details of his commission plan within 30 days of his

employment at the Company.

        12.    On February 6, 2017, Mr. Sethachutkul began working in Jumpshot’s Sales

Department under the supervision of the Company’s Vice President of Sales, Eli Goodman.

        13.    In early 2017, however, Mr. Goodman communicated to Mr. Sethachutkul that

Jumpshot would pay him a 10% commission on each deal on which he worked (“Commission

Plan”). In response to Mr. Goodman, Mr. Sethachutkul verbally agreed to the Compensation

Plan.

        14.    No agreement between Mr. Sethachutkul and Jumpshot conditions payment of

Mr. Sethachutkul’s earned commissions on his employment status; i.e., Mr. Sethachutkul did not

have to remain employed by Jumpshot in order to receive commission payments.

        15.    Jumpshot pays earned commissions on a sales contract to the person who secures

the agreement after “revenue is recognized.”

        16.    When Jumpshot receives payment from a client pursuant to a sales contract,

revenue is recognized in relation to the agreement.

        17.    After revenue has been recognized, Jumpshot typically makes commission

payments to its employees around the end or beginning of a sales quarter.




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II.      MR. SETHACHUTKUL SECURES SALES CONTRACTS

         18.   In the summer of 2017, Mr. Sethachutkul closed the following sales contracts for

Jumpshot:

              $5,000 agreement with Dreamworks signed on August 23, 2017;

              $10,000 agreement with Tsquared Insights SA signed on August 29, 2017;

              $5,000 agreement with Douglas signed on September 21, 2017;

              $12,500 agreement with Douglas signed on September 28, 2017;

              $5,210,000 agreement with Tsquared Insights SA signed on September 29, 2017;

              $3,000,000 agreement with Tsquared Insights SA signed on September 29, 2017;

               and

              $86,000 agreement with Bain and Company signed on in or around October 2017.

         19.   When a Jumpshot employee closes a sales contract, the details of the contract,

including which Jumpshot employee secured the sales contract and the amount of the

commission payment owed to that employee, are entered into a computer program called Sales

Force.

         20.   Subsequently, Chris Wasik, Jumpshot’s Controller, and Esfir Viner, Jumpshot’s

Senior Accountant, use the information entered into Sales Force to generate an excel spreadsheet

for each Jumpshot employee who secured a sales contract(s). The excel spreadsheet indicates

whether revenue has been recognized on the sales contract(s) and whether an employee has been

paid his or her earned commissions.

         21.   In August 2017, Jumpshot recognized revenue on the $5,000 Dreamworks

agreement and $10,000 Tsquared agreement.




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       22.     As a result, in September 2017, pursuant to the Commission Plan, the Company

paid Mr. Sethachutkul $1,500, 10% of the combined recognized revenue on the $5,000

Dreamworks agreement and $10,000 Tsquared agreement.

       23.     On or around October 23, 2017, Ms. Viner provided Mr. Sethachutkul with an

 excel spreadsheet containing the details of the sales contracts he secured for Jumpshot,

 including which companies entered into the sales contracts and the amount Jumpshot is owed

 pursuant to each contract. Additionally, the spreadsheet memorializes, in writing, the

 agreement between Jumpshot and Mr. Sethachuthul that Jumpshot will pay Mr. Sethchutkul

 10% of the value of each deal on which he worked.

       24.     The spreadsheet further shows that, consistent with the parties’ agreement,

Jumpshot paid Mr. Sethachutkul’s earned commission payments related to the $5,000

Dreamworks agreement and $10,000 Tsquared agreement,

III.   JUMPSHOT TERMINATES MR. SETHACHUTKUL

       25.     In or around December 2017, Jumpshot began to recognize revenue on the

$5,210,000 and $3,000,000 sales contracts with Tsquared Insights SA.

       26.     As a result, Mr. Sethachutkul was set to receive his earned commissions in or

around January 2018.

       27.     On December 8, 2017, Jumpshot terminated Mr. Sethachutkul. Mr.

Sethachutkul’s termination was plainly motivated by a desire on the part of Jumpshot not to pay

him the commissions he earned ($821,000) in connection with the $5,210,000 and $3,000,000

sales contracts he secured with Tsquared Insights SA. However, Mr. Sethachutkul was never

told that he needed to remain employed to receive his earned commissions. Moreover, even if

Jumpshot had a policy requiring employees to remain employed in order to receive commission,




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such policy would be in violation of New York public policy. See Kolchins, 2018 WL 1524710,

at *4-5.

       28.     Other than the $1,500 commission payment made to Mr. Sethachutkul in

September 2017, Jumpshot has not paid Mr. Sethachutkul any of his earned commissions on the

aforementioned deals.

                         AS AND FOR A FIRST CAUSE OF ACTION
                                 (Violation of NYLL § 191)

       29.     Plaintiff hereby repeats and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       30.     NYLL § 191 requires a covered employer to maintain a signed writing of the

agreed terms of employment between the employer and its commission salespersons for at least

three years.

       31.     Should a commission salesperson request the written terms of employment from a

covered employer and the covered employer fails to produce the written terms of employment, a

presumption arises that the terms of employment presented by the commission salesperson are

the agreed terms of employment.

       32.     Plaintiff requested the terms of his employment with Defendant regarding the

payment of his earned commissions and Defendant failed to produce the written terms of

employment between Plaintiff and Defendant.

       33.     As a result of Defendant’s willful and unlawful conduct, Plaintiff is entitled to an

award of damages in an amount to be determined at trial, plus liquidated damages, prejudgment

interest and reasonable attorneys’ fees and costs.




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                       AS AND FOR A SECOND CAUSE OF ACTION
                      (Unlawful Deductions in Violation of NYLL § 193)

       34.     Plaintiff hereby repeats and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       35.     NYLL § 193 prohibits covered employers, such as Defendant, from making

deductions from any employee’s wages.

       36.     Defendant made an unlawful deduction from Plaintiff’s wages by failing to pay

Plaintiff commission payments and stating that he will not receive any commission payments for

revenues brought in on the sales contracts he secured for Defendant.

       37.     Defendant does not have a good faith basis to believe that its failure to pay the

aforementioned commission payments is in compliance with the NYLL.

       38.     As a result of Defendant’s willful and unlawful conduct, Plaintiff is entitled to an

award of damages in an amount to be determined at trial, plus liquidated damages, prejudgment

interest and reasonable attorneys’ fees and costs.

                        AS AND FOR A THIRD CAUSE OF ACTION
                                 (Breach of Contract)

       39.     Plaintiff hereby repeats and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       40.     During Plaintiff’s employment, Plaintiff and Defendant entered into a binding

contract pursuant to which Plaintiff would be entitled to commission payments for his work

pursuant to an agreed upon formula. The terms of the contract did not require Plaintiff to remain

employed by Defendant to be entitled to his earned commissions.




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       41.     Defendant breached and continues to breach its agreement with Plaintiff by

failing to pay Plaintiff his earned commissions related to sales contracts he secured for

Defendant.

       42.     As a direct and proximate result of Defendant’s breach of its agreement with

Plaintiff, Plaintiff has suffered, and continues to suffer, economic harm for which he is entitled to

an award of damages to the greatest extent permitted under law.

                     AS AND FOR A FOURTH CAUSE OF ACTION
              (Breach of the Implied Covenant of Good Faith and Fair Dealing)

       43.     Plaintiff hereby repeats and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       44.     During Plaintiff’s employment, Plaintiff and Defendant entered into a binding

contract pursuant to which Plaintiff would be entitled to commission payments for his work

pursuant to an agreed upon formula. The terms of the contract did not require Plaintiff to remain

employed by Defendant to be entitled to his earned commissions.

       45.     Defendant owed a duty to Plaintiff to act in good faith and conduct fair dealing

under the contract. Defendant breached and continues to breach this implied covenant of good

faith and fair dealing by failing to pay Plaintiff his earned commissions related to sales contracts

he secured for Defendant.

       46.     As a direct and proximate result of Defendant’s breach of the implied covenant of

good faith and fair dealing, Plaintiff has suffered, and continues to suffer, economic harm for

which he is entitled to an award of damages to the greatest extent permitted under law.




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                        AS AND FOR A FIFTH CAUSE OF ACTION
                                 (Promissory Estoppel)

       47.     Plaintiff hereby repeats and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       48.     During Plaintiff’s employment, Defendant promised to pay Plaintiff commission

payments for his work pursuant to an agreed upon formula. This promise was not qualified by

any requirement that Plaintiff remain employed by Defendant until the time of the commission

payments.

       49.     Plaintiff reasonably relied on Defendant’s promise by, inter alia, remaining

employed by Defendant and working to generate millions of dollars in sales contracts for

Defendant.

       50.     Defendant failed to act in accordance with its promise by failing to pay Plaintiff

his earned commissions and stating that he will not receive any earned commissions for revenues

generated from the sales contracts he secured for Defendant.

       51.     As a direct and proximate result of Defendant’s failure to act in accordance with

its promise, Plaintiff has suffered, and continues to suffer, economic harm for which he is

entitled to an award of damages to the greatest extent permitted under law.

                        AS AND FOR A SIXTH CAUSE OF ACTION
                                 (Unjust Enrichment)

       52.     Plaintiff hereby repeats and re-alleges each and every allegation in all of the

preceding paragraphs as if fully set forth herein.

       53.     During Plaintiff’s employment, Defendant promised to pay Plaintiff commission

payments for his work pursuant to an agreed upon formula. This promise was not qualified by




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 any requirement that Plaintiff remain employed by Defendant until the time of the commission

 payments.

        54.     Plaintiff reasonably relied on Defendant’s promise by, inter alia, remaining

 employed by Defendant and working to generate millions of dollars of profits for Defendant. As

 a result, Defendant was enriched at Plaintiff’s expense.

        55.     Permitting Defendant to retain the monies it received due to Plaintiff’s work

 would violate notions of good conscience and equity and, thus, Defendant should be required to

 remit to Plaintiff the monies it received due to his work.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that the Court enter judgment in his favor and against

 Defendant, containing the following relief:

        A.      A declaratory judgment that the actions, conduct and practices of Defendant

 complained of herein violate the laws of the State of New York;

        B.      An injunction and order permanently restraining Defendant and its partners,

 officers, owners, agents, successors, employees and/or representatives, and any and all persons

 acting in concert with them, from engaging in any such further unlawful conduct, including the

 policies and practices complained of herein;

        C.      An order directing Defendant to place Plaintiff in the position he would have

 occupied, but for Defendant’s unlawful conduct;

        D.      An award of damages against Defendant, or any jointly or severally liable entity

 or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

 Plaintiff for all monetary and/or economic damages;

        E.      An award of liquidated damages;

        F.      Prejudgment interest on all amounts due;


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        G.      An award of costs incurred by Plaintiff in prosecuting this action, as well

 Plaintiff’s reasonable attorneys’ fees and costs to the fullest extent permitted by law; and

        H.      Such other and further relief as the Court may deem just and proper.

                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

 Dated: August 3, 2018
        New York, New York                             Respectfully submitted,

                                                       WIGDOR LLP


                                                       By: ____________________________
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